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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     UNITED STATES OF AMERICA,                         Case No. 5:18-cr-00258-EJD-1
                                                        Plaintiff,                         ORDER RE SUPPLEMENTAL
                                   9
                                                                                           BRIEFING ON MEDIA COALITION’S
                                                 v.                                        MOTION TO UNSEAL JUROR
                                  10
                                                                                           QUESTIONNAIRES
                                  11     ELIZABETH A. HOLMES,
                                                        Defendant.                         Re: Dkt. No. 1026
                                  12
Northern District of California
 United States District Court




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                                  14          American Broadcasting Company, Inc. d/b/a ABC News, the Associated Press, Bloomberg

                                  15   L.P., The Daily Mail, Dow Jones and Company, Inc., NBCUniversal Media, LLC, The New York

                                  16   Times Company, Portfolio Media, Inc. – publisher of Law360, Three Uncanny Four LLC, and the

                                  17   Washington Post Company (hereinafter “the Media Coalition”) have moved to unseal the

                                  18   completed juror questionnaires in this criminal matter. Dkt. No. 1026. The Court heard oral

                                  19   argument on the motion on September 30, 2021. Dkt. No. 1055.

                                  20          As the Court indicated it would at the September 30 hearing, it has informed the jurors of

                                  21   the Media Coalition’s request, provided the jurors with their questionnaires to review, and spoken

                                  22   to each juror individually. Counsel for Defendant Elizabeth Holmes and the Government were

                                  23   present during the Court’s sealed in camera colloquy with individual jurors.

                                  24          In view of the jurors’ concerns, the Court finds that supplemental briefing would aid its

                                  25   consideration of the Media Coalition’s motion. Accordingly, Holmes and the Government may

                                  26   each file a supplemental brief by October 25, 2021. The Media Coalition may file a supplemental

                                  27   reply brief in response by November 1, 2021. The supplemental briefs may not exceed 8 pages.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE SUPPL. BRIEF. ON MEDIA COALITION’S MOT. TO UNSEAL
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                                           Case 5:18-cr-00258-EJD Document 1088 Filed 10/14/21 Page 2 of 2




                                   1          To assist the Media Coalition in filing a more comprehensive supplemental brief, the Court

                                   2   authorizes counsel for the Media Coalition to obtain a transcript of the sealed proceedings on

                                   3   October 12 and 13, 2021 on an Attorney’s Eyes-Only basis. The parties shall comply with

                                   4   Criminal Local Rule 56-1 and the Court’s process for e-filing administrative motions under seal in

                                   5   criminal cases as necessary.1

                                   6          The Court may schedule a further hearing on a date to be determined.

                                   7          IT IS SO ORDERED.

                                   8   Dated: October 14, 2021

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                                                                                                   EDWARD J. DAVILA
                                  11                                                               United States District Judge
                                  12
Northern District of California
 United States District Court




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                                        See https://cand.uscourts.gov/cases-e-filing/cm-ecf/e-filing-my-documents/e-filing-under-seal-in-
                                  27   criminal-cases/.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE SUPPL. BRIEF. ON MEDIA COALITION’S MOT. TO UNSEAL
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